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 4                            UNITED STATES DISTRICT COURT

 5                           EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                    No. 2:15-cr-0118-GEB
 8                   Plaintiff,
 9          v.                                    ORDER AMENDING THE ORDER FILED
                                                  ON MAY 27, 2016 1
10   MICHAEL DESHONE MATHEWS,
11                   Defendant.
12

13                Defendant     objects      to       paragraphs   35     and    37   in    the

14   Presentence Investigation Report (“PSR”). (Def’t’s Objection to

15   PSR 2:02-5:01, ECF No. 76.)

16                These objections were discussed during the sentencing

17   hearing     held   on    May   20,    2016.      The    government    stated     at    the

18   hearing     that   it    has   no    position      on   Defendant’s        objection    to

19   paragraph 35.       However, the judge decided to conduct research on

20   the    objection    to     paragraph     35       and    therefore    continued        the

21   sentencing hearing.

22                Paragraph 35 increases Defendant’s offense level two

23   levels for the following reasons:

24                The defendant committed the offense as part
                  of a pattern of criminal conduct engaged in
25                as a livelihood. The conduct exceeded a 12-
                  month period and Mathews derived more than
26                $18,000 from the illegal conduct. Moreover,
                  state records show the defendant had no
27
     1
       This order only amends the offense level in the prior order, changing it
28   from 37 to 33.
                                                  1
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 1                  reported or documented legal employment or
                    income from 2011 to 2014 which includes the
 2                  first year of the investigative period.
                    Therefore, a two-level increase is being
 3                  applied, pursuant to USSG §2D1.1(b)(15)(E).

 4
     (PSR Paragraph 35 p.9-10, ECF No. 74.)
 5
                    Defendant argues, inter alia, in his objection to this
 6
     enhancement:
 7
                    “Pattern of criminal conduct” means planned
 8                  criminal acts occurring over a substantial
                    period of time. “Substantial period of time”
 9                  is not defined in the Sentencing Guidelines.
                    This crime spanned one year under the Offense
10                  Conduct section. This is not “a substantial
                    period of time.”
11
     (Def’t’s Objection to PSR 2:11-14 (citing U.S.S.G Section 4B1.3,
12
     comment (n.1))).
13
                    Although U.S.S.G. Section 4B1.3, comment (n.1), “does
14
     not attempt to delineate the length of a ‘substantial period’ [of
15
     time,]” United States v. Reed, 951 F.2d 97, 101 (6th Cir. 1991),
16
     Defendant’s interpretation of this advisory guideline term is
17
     unpersuasive.       See Reed, 951 F.2d at 101-02 (finding a seven-
18
     month period long enough to constitute a substantial period of
19
     time); United States v. Irvin, 906 F.2d 1424, 1426 (10th Cir.
20
     1990)    (stating    “defendant’s      [engagement      in    a]   well-organized
21
     criminal venture” from five to seven months was a substantial
22
     period    of    time).   The   PSR   evinces   that     defendant     engaged   in
23
     several    criminal      trafficking   transactions      involving     oxycodone
24
     pills for a time period exceeding twelve months, and as stated in
25
     the PSR he “committed the offense as a part of a pattern of
26
     criminal conduct engaged in as a livelihood.” (PSR paragraph 35.)
27
                    Therefore,   Defendant’s     objection    to    paragraph   35   is
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                                             2
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 1   overruled. However, for the reasons stated during the sentencing

 2   hearing Defendant’s objection to paragraph 37 was sustained.

 3                 Since the objection to Paragraph 37 has been sustained

 4   and   the    objection     to   Paragraph   35    is   overruled,   Defendant’s

 5   Offense Level is 33, and the resulting advisory guideline range

 6   is 168 to 210 months.

 7                 The   Probation    Department      shall   be   included   in   the

 8   service of this Order, and the Probation Department shall append

 9   a copy of this Order to the presentence report made available to
10   the Bureau of Prisons.
11   Dated:      June 2, 2016
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